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 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                   WESTERN DIVISION
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13   PHILIPS LIGHTING NORTH                     Case No. 2:17-cv-04995-R-AGR
     AMERICA CORPORATION and
14   PHILIPS LIGHTING HOLDING                   Hon Manuel L. Real
     B.V.,
15                                              ORDER GRANTING DISMISSAL
                  Plaintiffs and Counterclaim
16                Defendants                    Complaint Filed: April 12, 2017
17          v.                                  Trial Date: July 31, 2018
18   DECO ENTERPRISES, INC. (d/b/a
     DECO LIGHTING),
19
20                Defendant and
                  Counterclaim-Plaintiff.
21
     and Related Counterclaims
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 1          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure
 2   and for good cause shown, the Court hereby dismisses with prejudice all claims
 3   and counterclaims in this action. For the purpose of clarity, Deco shall not be
 4   barred from asserting the defense of, or counterclaim for, invalidity of U.S.
 5   Patents 6,094,014, 7,262,559, 8,070,328, 7,038,399, and 6,586,890 in any future
 6   litigation asserted by Philips Lighting against Deco.
 7          Each party shall bear its own costs and attorneys’ fees in this action.
 8          SO ORDERED.
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10   Dated:       January 22, 2018
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12
                                          The Honorable Manuel L. Real
13                                        UNITED STATES DISTRICT COURT
14                                        JUDGE

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